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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA                   §
                                           §
                                           §
                                           §
VS.                                        §     CRIMINAL NO. H-11-165-3
                                           §
                                           §
                                           §
DIN REGINA CHANEY                          §

                                         ORDER

       The defendant filed an unopposed motion for continuance of the sentencing hearing,

(Docket Entry No. 346).The motion for continuance is GRANTED. The sentencing hearing

is reset to June 26, 2014 at 9:00 a.m.

             SIGNED on May 27, 2014, at Houston, Texas.

                                               ______________________________________
                                                        Lee H. Rosenthal
                                                  United States District Judge
